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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF IOWA
                                 CENTRAL DIVISION

 Roderick et al.,                                    Civil Action No. 4:22-cv-00148-SMR-HCA

        Plaintiffs,                                  Chief Judge Stephanie M. Rose
                                                     Chief Magistrate Judge Helen C. Adams
                v.

 Midwest Hospitality Investments L.C. et al.,        PROPOSED SCHEDULING ORDER
                                                     AND DISCOVERY PLAN
        Defendants.


     Counsel have conferred and submit the following case information and proposed dates for
case management:

 1. Did the parties both (a) enter into an agreement at the Rule 26(f) conference resolving all
    issues relating to initial disclosures, and (b) discuss the preservation, disclosure, and
    discovery of electronically stored information? Ryes □no
    If any party objected at the Rule 26(f) conference to making or to the timing of the initial
    disclosures, then the objecting party must, within 14 days after this order and plan has
    been filed, serve and file a document in which the objections are set forth with
    particularity. If the parties have agreed to a deadline for making the initial disclosures, state
    the date by which the initial disclosures will be made: September 2, 2022 (two weeks from
    August 19, 2022, 26(f) final conference)

 2. Deadline for motions to add parties: November 4, 2022 (two and a half months from
    conference)

 3. Deadline for motions to amend pleadings: November 4, 2022 (two and a half months from
    conference)

 4. Expert witnesses disclosed by:
           a. Plaintiff: March 20, 2023 (seven months from conference)
           b. Defendant: May 22, 2023 (nine months from conference)
           c. Plaintiff Rebuttal: June 20, 2023 (ten months from conference)

 5. Deadline for completion of discovery: July 24, 2023 (eleven months from conference)

 6. Dispositive motions deadline (at least 150 days before Trial Ready Date): July 24, 2023
    (eleven months from conference)

 7. Trial Ready Date (at least 150 days after Dispositive Motions Date): January 8, 2024




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 8. Has a jury demand been filed? Ryes □no

 9. Estimated length of trial: 5 days

 10. Settlement conference (choose one of the following):
            a. RA court-sponsored settlement conference should be set by the court at this time
                for a date after: November 22, 2022
                or
            b. □A court-sponsored settlement conference is not necessary at this time.

 11. Should the court order a court-sponsored scheduling and planning conference pursuant to
     Fed. R. Civ. P. 16(b) and 26(f)?
               Ryes □no

 12. Do the parties unanimously consent to trial, disposition and judgment by a U.S. Magistrate
     Judge, with appeal to the Eighth Circuit Court of Appeals? 28 U.S.C. § 636(c)?
               □yes Rno

Dated: August 18, 2022                             Dated: August 18, 2022

Respectfully submitted,                            Respectfully submitted,

/s/ Edmund S. Aronowitz                            /s/ Jace T. Bisgard (with permission)
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Attorneys for Plaintiffs Brande Roderick,
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Rosie Roff




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                                    JUDGE’S REVISIONS


The deadline in Paragraph                  Is changed to
The deadline in Paragraph                  Is changed to
The deadline in Paragraph                  Is changed to


IT IS ORDERED that this proposed Scheduling Order and Discovery Plan
       ! is approved and adopted by this court.

       ! is not approved and adopted by this court.

IT IS FURTHER ORDERED that a scheduling and planning conference:

       ! will not be scheduled at this time.

       ! will be held in the chambers of Judge                                       at the
              U.S. Courthouse in                                       , Iowa on the           day
              of                               , at              o’clock ☐a.m. ☐p.m.

       ! will be held by telephone conference, initiated by the court, on the                 day
              of                               , at              o’clock ☐a.m. ☐p.m.


DATED this           day of                                ,               .


                                                               MAGISTRATE JUDGE
                                                               UNITED STATES DISTRICT
                                                               COURT




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                                    Certificate of Service

      I hereby certify that on August 18, 2022, I filed the foregoing using the CM/ECF system
which will provide notice to counsel for all parties of record.

                                                  /s/ Edmund S. Aronowitz




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